Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 1 of 20 Page ID #:1




    1 GOMEZ TRIAL ATTORNEYS                           THE HABA LAW FIRM, P.A.
      JOHN H. GOMEZ (171485)                          LISA D. HABA*
    2 jgomez@thegomezfirm.com                         lisahaba@habalaw.com
      DEBORAH S. DIXON (248965)                       1220 Commerce Park Dr., Ste. 207
    3 ddixon@thegomezfirm.com                         Longwood, Florida 32779
      655 W. Broadway Suite 1700                      Telephone: (844) 422-2529
    4 San Diego, California 92101
      Telephone: (619) 237-3490
    5 Facsimile: (619) 237-3496
    6 DiCELLO LEVITT GUTZLER
      LLC
    7 GREG G. GUTZLER*
      ggutzler@dicellolevitt.com
    8 444 Madison Avenue, Fourth Floor
      New York, New York 10022
    9 Telephone: (646) 933-1000
  10 Counsel for Plaintiffs
     (*Pro Hac Vice Applications Pending)
  11 Additional Counsel Listed on Signature Page
  12
  13                      UNITED STATES DISTRICT COURT
  14                    CENTRAL DISTRICT OF CALIFORNIA
  15                                WESTERN DIVISION
  16
  17 JANE DOE NOS. 1-3,                         Case No: 2:20-cv-10713

  18              Plaintiffs,                   COMPLAINT
  19        v.
  20 DANIEL S. FITZGERALD,
  21              Defendant.
  22
  23
  24
  25
  26
  27
  28                                              1
  29              Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                           COMPLAINT
  30
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 2 of 20 Page ID #:2



    1                                      COMPLAINT
    2        This is a civil action for damages under the United States Federal sex
    3 trafficking statute, 18 U.S.C. §§ 1591, et seq. and other state laws, brought by
    4 Plaintiffs Jane Doe Nos. 1-3, arising from Defendant Daniel S. Fitzgerald’s
    5 (“Defendant” or “Fitzgerald”) participation in the sex trafficking venture of Peter J.
    6 Nygard (“Nygard”). Defendant knowingly participated in and conspired in Nygard,
    7 Nygard Inc., Nygard International Partnership (“Nygard International”), and Nygard
    8 Holdings Limited’s (“Nygard Holdings”) (collectively, the “Nygard Companies”)
    9 sex trafficking venture. Defendant participated in the sex trafficking of Jane Doe
  10 Nos. 1-3 by knowingly engaging in commercial sex act(s) with them against their
  11 will at the behest of Nygard, in violation of the Trafficking Victims Protection
  12 Reauthorization Act (“TVPRA”).
  13                                     INTRODUCTION
  14         1.     As detailed in Jane Does Nos. 1-57 v. Nygard, et al., No. 20-cv-01288
  15 (ER) (S.D.N.Y. June 10, 2020) (Ramos, J.), John Does 1 and 2 v. Nygard, et al., No.
  16 20-cv-06501 (ER) (August 16, 2020) (Ramos, J.), and Jane Doe v. Suelyn Medeiros,
  17 No. 20-cv-24357 (SDFL Oct. 22, 2020) (Martinez, J.), and a number of other related
  18 lawsuits, Nygard and the Nygard Companies perpetrated a decades-long,
  19 international sex trafficking venture that lured, enticed, and coerced countless girls,
  20 women, and boys to be raped.
  21         2.     Defendant has participated in and conspired with Nygard’s sex
  22 trafficking venture by knowingly and actively engaging in commercial sex acts with
  23 young women provided to him by Nygard as part of Nygard’s sweeping international
  24 sex trafficking venture.
  25         3.     Plaintiffs Jane Doe Nos. 1-3 are three such innocent victims of
  26 Defendant.
  27         4.     As a member of Nygard’s sex trafficking venture, Defendant
  28 knowingly participated in the venture by engaging in commercial sex acts with
                                                    2
                    Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                             COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 3 of 20 Page ID #:3



    1 young women who he knew were being sex trafficked by Nygard and the Nygard
    2 Companies and recruiting, luring, and enticing young women to engage in
    3 commercial sex acts with Nygard.
    4 I.     Fitzgerald Engaged in Commercial Sex Acts with Jane Doe Nos. 1-3,
             Knowing They Were Being Trafficked to Him by Nygard.
    5
    6        5.    Fitzgerald knowingly participated in Nygard and the Nygard
    7 Companies’ sex trafficking venture by engaging in commercial sex acts with Jane
    8 Doe Nos. 1-3, sex trafficking victims of Nygard and the Nygard Companies.
    9        6.    Fitzgerald is a long-time friend and associate of Nygard who frequently
  10 attends “pamper parties”1 (events used by Nygard to lure and traffic his victims) and
  11 knows of Nygard’s sprawling sex trafficking venture.
  12         7.    Fitzgerald, along with fellow co-conspirator Steven Powers, were
  13 frequent guests of Nygard and attended Nygard’s “pamper parties” and dinners at
  14 Nygard’s Marina Del Rey property in California, which are used to facilitate and
  15 enable Nygard’s sex trafficking scheme.
  16         8.    Below is a photograph of Nygard and Fitzgerald with a number of
  17 Nygard’s “girlfriends,” i.e. sex trafficking victims:
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27    1
      https://www.instagram.com/p/BehBmpwDZW-/;
  28 https://www.instagram.com/p/BjmAvU2A86k/; https://www.instagram.com/p/BrMcKpBn28C/;
     https://www.instagram.com/p/B3TwcWWAP2K/; https://www.instagram.com/p/B4I2E_OgQai/
                                                   3
                   Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                            COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 4 of 20 Page ID #:4



    1        9.    Fitzgerald also regularly attends “pamper parties” at Nygard’s Marina
    2 Del Rey property, which are used to facilitate and enable Nygard’s sex trafficking
    3 scheme.
    4
    5
    6
    7
    8
    9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                   4
                   Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                            COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 5 of 20 Page ID #:5



    1            10.    Fitzgerald openly promotes the Nygard image in order to recruit, lure,
    2 and entice young women to attend the “pamper parties” and events at Nygard’s
    3 properties.
    4            11.    Fitzgerald is even listed on Nygard Companies’ employee contact lists
    5 as an employee.
    6            12.    Fitzgerald has traveled on the Nygard Companies’ corporate jet (“N-
    7 Force”) to locations in South America, the Caribbean, and New York for the purpose
    8 of furthering and participating in the sex trafficking venture.
    9            13.    Fitzgerald also knowingly recruits, lures, and entices young women to
  10 engage in commercial sex acts with himself and Nygard, flying them from, among
  11 other places, locations in Las Vegas, Nevada and San Jose, California.2
  12 Jane Doe No. 1
  13             14.    In 2018, Jane Doe No. 1, at the time an employee and sex working of
  14 the Nygard Companies and sex trafficking victim of Nygard and the Nygard
  15 Companies, met Fitzgerald and his female companion at Nygard’s Marina Del Rey
  16 property.
  17             15.    While in the jacuzzi with Nygard, Jane Doe No. 1, and another female,
  18 Nygard directed Jane Doe No. 1 to engage in commercial sex acts with Fitzgerald
  19 against her will.
  20             16.    Fitzgerald then performed oral sex on Jane Doe No. 1, at Nygard’s
  21 direction and against her will in the jacuzzi.
  22             17.    Still acting under Nygard’s directions and orders, Fitzgerald escorted
  23 Jane Doe No. 1 to a bedroom and engaged in sexual intercourse with her, at Nygard’s
  24 direction and against her will, while Nygard had sexual intercourse with the other
  25 female provided by Fitzgerald at the same time.
  26 Jane Doe No. 2
  27             18.    In 2008, Jane Doe No. 2, at the time an employee and sex worker of the
  28    2
            See https://www.instagram.com/p/B4I2E_OgQai/
                                                       5
                       Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                                COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 6 of 20 Page ID #:6



    1 Nygard Companies, and sex trafficking victim of Nygard and the Nygard Companies
    2 met Fitzgerald and his female companion at Nygard’s Marina Del Rey property.
    3        19.    Jane Doe No. 2 was invited into a bedroom under false pretenses with
    4 Nygard, Fitzgerald, and Fitzgerald’s female companion.
    5        20.    Nygard directed Jane Doe No. 2 to engage in commercial sex acts with
    6 Fitzgerald against her will.
    7        21.    At the time, Nygard knew that Jane Doe No. 2 did not identify as
    8 heterosexual.
    9        22.    With a complete disregard for Jane Doe No. 2’s consent or wishes, Jane
  10 Doe No. 2 was coerced and consequently did engage in sexual acts with Fitzgerald
  11 while Nygard engaged in sexual acts with the other female provided by Fitzgerald.
  12 Jane Doe No. 3
  13         23.    In 2009, Jane Doe No. 3, at the time an employee and sex worker of the
  14 Nygard Companies, and sex trafficking victim of Nygard and the Nygard Companies
  15 met Fitzgerald and his female companion at Nygard’s Marina Del Rey property.
  16         24.    Jane Doe No. 3 was trafficked to Fitzgerald on three separate occasions
  17 in 2009.
  18         25.    On each of the three occasions, Fitzgerald came to Nygard’s house for
  19 dinner and poker, and each time, he brought a female companion. During the course
  20 of the evening, Jane Doe No. 3, was instructed by Nygard that she would be engaging
  21 in sexual activity with Fitzgerald later that evening.
  22         26.    After the social evening ended, Nygard and Fitzgerald took Jane Doe
  23 No. 3 and Fitzgerald’s female companion upstairs to Nygard’s bedroom.
  24         27.    Jane Doe No. 3 was coerced to engage in commercial sex acts with
  25 Fitzgerald against her will. Nygard watched Fitzgerald and Jane Doe No. 3 have
  26 sexual intercourse for his own sexual gratification.
  27         28.    During the course of the sexual acts, Nygard engaged in sexual acts
  28 with Fitzgerald’s female companion.
                                                   6
                   Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                            COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 7 of 20 Page ID #:7



    1 Pattern of Conduct for a Decade
    2            29.    From 2008 until 2018, Nygard frequently traveled to California and
    3 stayed at his Marina Del Rey property.
    4            30.    Almost every day, if not every day that Nygard was in town, Fitzgerald
    5 would come to the Marina Del Rey house for dinner, poker, and commercial sex
    6 acts.
    7            31.    Fitzgerald’s primary purpose in coming to Marina Del Rey each
    8 evening was to engage in commercial sex acts with one of Nygard’s “girlfriends” or
    9 another girl provided by Nygard.
  10             32.    In exchange for sex acts, Fitzgerald would always bring a female with
  11 him to “offer” to Nygard.
  12             33.    In exchange for Fitzgerald’s knowing recruitment, participation, and
  13 conspiracy in Nygard’s continuing sex trafficking venture, Nygard forced his
  14 “girlfriends” and/or sex workers to perform commercial sex acts with Fitzgerald.
  15             34.    Fitzgerald also uses his association with Nygard and attendance at
  16 “pamper parties” to benefit and promote himself and his business on social media.3
  17             35.    Fitzgerald portrays himself as a playboy, entrepreneur, and partier that
  18 rents luxurious homes in Hollywood to celebrities and “influencers” for them to
  19 throw parties.4
  20                                 JURISDICTION AND VENUE
  21             36.    This Court has federal question subject-matter jurisdiction pursuant to
  22 28 U.S.C. § 1331, because Plaintiffs bring this action under the federal TVPRA
  23 statute, 18 U.S.C. § 1591; 1596.
  24             37.    Plaintiffs Jane Doe Nos. 1-3’s claims arise out of the same series of
  25 transactions or occurrences and share common questions of law or fact. The
  26
        3
            See https://www.instagram.com/p/BehBmpwDZW-/;
  27 https://www.instagram.com/p/BjmAvU2A86k/; https://www.instagram.com/p/BrMcKpBn28C/;
  28 https://www.instagram.com/p/B3TwcWWAP2K/;
     4
                                                  https://www.instagram.com/p/B4I2E_OgQai/
            See https://www.dannyfitzgerald.com/; https://www.dannyfitzgerald.com/media
                                                        7
                        Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                                 COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 8 of 20 Page ID #:8



    1 essential facts of Jane Doe Nos. 1-3’s claims are so logically connected that
    2 considerations of judicial economy and fairness dictate that all the issues be resolved
    3 in a single lawsuit. There is also substantial overlap in questions of law or fact across
    4 Jane Doe Nos. 1-3’s claims.
    5         38.    This Court also has diversity jurisdiction pursuant to 28 U.S.C. § 1332,
    6 because the matter in controversy exceed the sum or value of $75,000, exclusive of
    7 interest and costs and the parties have complete diversity. Plaintiff Jane Doe No. 1
    8 is a citizen of the state of Florida, Plaintiff Jane Doe No. 2 is a citizen of the state of
    9 Colorado, and Plaintiff Jane Doe No. 3 is a citizen of the state of Ohio. Defendant
  10 is a citizen of and is domiciled in the State of California, conferring personal
  11 jurisdiction, and is lawfully admitted to the United States for permanent residence
  12 and/or is present in the United States.
  13          39.    This Court also has supplemental jurisdiction pursuant to 28 U.S.C. §
  14 1367(a), because all claims alleged herein are part of the same nucleus of operative
  15 facts and there is complete diversity between the Plaintiffs and Defendant.
  16          40.    Venue is proper in this District, under 28 U.S.C. § 1391(b)(2), because
  17 Defendant Daniel S. Fitzgerald knowingly engaged in sex trafficking in this District
  18 and, therefore, a substantial part of the events giving rise to Plaintiffs’ claims
  19 occurred in this District.
  20                                          PARTIES
  21 A.       Plaintiff Jane Doe Nos. 1-3
  22          41.    Jane Doe No. 1 is a United States citizen that resides in Florida.
  23          42.    Jane Doe No. 2 resides in Colorado.
  24          43.    Jane Doe No. 3 is a United States citizen that resides in Ohio.
  25          44.    They are using pseudonyms because of the highly personal nature of
  26 this matter.
  27          45.    Plaintiffs are at serious risk of retaliatory harm because Defendant’s co-
  28 conspirators, Nygard and the Nygard Companies, have tremendous wealth and
                                                    8
                    Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                             COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 9 of 20 Page ID #:9



    1 power and have used it to retaliate against others who have attempted to come
    2 forward, including by means of arson, property destruction, threats of physical
    3 violence, and threats of legal action.
    4            46.    Plaintiffs are also vulnerable because of Defendant’s co-conspirators’
    5 wealth and influence in Canada and the United States, and the corruption of law
    6 enforcement by the co-conspirators through bribery and political influence.5
    7            47.    Plaintiffs’ safety, right to privacy, and security outweigh the public
    8 interest in their identification.
    9            48.    Plaintiffs’ legitimate concerns outweigh any prejudice to Defendant by
  10 allowing Plaintiff Jane Doe Nos. 1-3 to proceed anonymously.
  11 B.          Defendant Daniel S. Fitzgerald
  12             49.    Defendant Daniel S. Fitzgerald is a California citizen who resides in
  13 California and owns properties in California. Fitzgerald is lawfully admitted to the
  14 United States for permanent residence and/or is present in the United States.
  15 Fitzgerald owns a real estate development company that conducts substantial
  16 business in California.6
  17                       THE TRAFFICKING VICTIMS PROTECTION
  18                         REAUTHORIZATION ACT (“TVPRA”)

  19             50.    The TVPRA outlaws sex trafficking activities that affect interstate or
  20 foreign commerce or take place within the territorial jurisdiction of the United
  21 States. It is to be construed broadly because it serves a remedial purpose and uses
  22 intentionally broad language.
  23             51.    The TVPRA makes it unlawful for:
  24                    (a) Whoever knowingly—
  25    5
            See, e.g., https://www.youtube.com/watch?v=Pw1xUXQNelg;
  26 http://www.tribune242.com/news/2018/feb/14/nygard-outright-bribery-plp/;
        http://www.tribune242.com/news/2014/jun/25/nygard-gave-money-plp-then-asked-help-over-
  27 land-is/; http://www.tribune242.com/news/2017/may/05/fresh-questions-over-las-vegas-trip-pm-
  28 gibson-and-/.
     6
            https://www.dannyfitzgerald.com/aboutcontec.
                                                        9
                        Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                                 COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 10 of 20 Page ID #:10



     1                       (1) In or affecting interstate or foreign commerce, or within the
                                 special maritime and territorial jurisdiction of the United States
     2                           recruits, entices, harbor, transports, provides, obtains, advertises,
     3                           maintains, patronizes, or solicits by any means a person; or

     4                       (2) Benefits, financially or by receiving anything of value, from
                                 participation in a venture which has engaged in an act described
     5                           in violation of paragraph (1),
     6
                                       knowing, or except where the act constituting the violation
     7                                 of paragraph (1) is advertising, in reckless disregard of the
     8                                 fact, that means of force, threats of force, fraud, coercion,
                                       described in subsection (e)(2), or any combination of such
     9                                 means will be used to cause the person to engage in a
    10                                 commercial sex act, or that the person has not attained the
                                       age of 18 years and will be caused to engage in a
    11                                 commercial sex act, shall be punished as provided in
    12                                 subsection (b).7

    13           52.      As alleged herein, Defendant knowingly used interstate and foreign
    14 commerce to violate the TVPRA by conspiring and collaborating with Nygard and
    15 the Nygard Companies to entice, lure, provide, obtain, and/or transport Jane Doe
    16 Nos. 1-3 to engage in commercial sex acts in California.
    17           53.      In addition to violating the TVPRA, as alleged herein, Defendant
    18 conspired to violate and/or violated the laws of the State of California.
    19           54.      Due to extraordinary circumstances and Defendants’ co-conspirator’s
    20 conduct, which prevented, to the extent applicable, Plaintiffs from bringing their
    21 claims, the applicable statute of limitations is equitably tolled for Plaintiffs’ TVPRA
    22 claims.
    23           55.      The general rule is that statutes of limitations are subject to equitable
    24 tolling. See United States v. Locke, 471 U.S. 84, 94 n.10 (1985) (”Statutory filing
    25 deadlines are generally subject to the defenses of waiver, estoppel, and equitable
    26 tolling.”); Young v. United States, 535 U.S. 43, 49 (2002) (“It is hornbook law that
    27 limitations periods are customarily subject to equitable tolling unless tolling would
    28   7
             18 U.S.C. § 1591(a).
                                                         10
                         Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                                  COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 11 of 20 Page ID #:11



     1 be inconsistent with the text of the relevant statute.”) (quotation marks and citations
     2 omitted).
     3         56.     Plaintiffs, to the extent applicable here, pursued their rights diligently
     4 and were impeded because of a combination of force, threats of force, shame,
     5 embarrassment, fear, political and law enforcement corruption, weak laws that are
     6 rarely enforced to protect the victim, and bribery. As a result, to the extent necessary,
     7 all applicable statutes of limitations should be equitably tolled.
     8         57.     Defendants’ co-conspirator, Nygard, is notorious for using his wealth,
     9 political power, and influence in Canada, the United States, and the Bahamas to
    10 intimidate his victims and prevent them from coming forward.8
    11         58.     Nygard also uses violence, threats of violence, bribery, and corruption
    12 to intimidate and silence his victims and those that he believes have “betrayed” him.
    13 Nygard has silenced his victims by, among other means, having their tires slashed,
    14 committing arson, hiring thugs to intimidate his victims, having his victims
    15 followed, engaging in murder-for-hire plots, and otherwise threatening his victims
    16 with death.
    17         59.     Nygard also routinely threatens to use his wealth to sue and destroy the
    18 reputation of anyone who comes forward to report his crimes.
    19         60.     Further, Defendant has been actively communicating with Nygard and
    20 the Nygard Companies on ways to flee the jurisdiction because they are under the
    21 cloud of a pending FBI/DOJ investigation.
    22         61.     Due to Defendant’s conspiracy with Nygard and his close association
    23 with him as a recruiter and fellow sex trafficker, Plaintiffs legitimately feared for
    24 their life as well as other forms of retaliation if they pursued claims against
    25 Defendant for trafficking them to Nygard.
    26 / / /
    27
         8
           See Second Amended Complaint, Jane Does Nos. 1-57 v. Nygard, et al., No. 20-cv-01288 (ER)
    28
         (June 10, 2020) (Ramos, J.).
                                                      11
                      Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                               COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 12 of 20 Page ID #:12



     1           62.      It wasn’t until Nygard was sued in a class action lawsuit,9 as well as
     2 investigated by the FBI,10 that Plaintiffs felt they could pursue their claims without
     3 risk of harm or death.
     4           63.      To the extent that Plaintiffs were unable to pursue their claims, they
     5 were legitimately and justifiably afraid that Defendant and/or Nygard would hard
     6 and/or retaliate against her is she pursued any claim against Defendants.
     7           64.      Nygard uses his financial resources, political power, influence, and
     8 threats of force to intimidate his victims—including Plaintiffs—and prevent them
     9 from coming forward.
    10           65.      In fact, just recently, Nygard’s attorneys bribed high-level Bahamian
    11 police to determine the identities of victims who were reporting the rapes to officials.
    12 There is legitimate concern that Nygard has attempted or will attempt to do the same
    13 in the United States and Canada.
    14           66.      Further, even after his victims leave his control, Nygard often continues
    15 to attempt to contact them, in an intimidating manner, intending to instill fear in his
    16 victims and remind them of his power and ability to hurt them.
    17           67.      Due to his power and influence in the Bahamas and worldwide,
    18 Nygard’s victims reasonably believe that he can have them killed if they pursue their
    19 claims against him or his co-conspirators, including Fitzgerald.
    20           68.      It is widely believed that Nygard pays thugs and/or the Bahamian police
    21 to harass and threaten his victims by slashing their tires, committing arson,
    22 threatening to arrest them, and having them followed.
    23           69.      Nygard’s intimidation tactics are not limited to the Bahamas.
    24           70.      Nygard is also believed to have tremendous influence with the
    25 Winnipeg police as well as City officials.
    26           71.      Nygard also requires many of his victims and witnesses to his crimes
    27
         9
             Id.
    28   10
              https://www.nytimes.com/2020/02/25/us/peter-nygard-international-fbi-raid.html.
                                                         12
                         Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                                  COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 13 of 20 Page ID #:13



     1 to sign non-disclosure agreements. Nygard regularly uses his companies’ wealth to
     2 sue and/or threaten to sue his victims and/or witnesses if they come forward to report
     3 his crimes.
     4         72.   Nygard threatens to humiliate and/or destroy his victims’ reputations if
     5 they come forward to report his crimes.
     6         73.   Nygard threatens to use his companies’ wealth and influence to destroy
     7 his victims’ careers in the modeling industry if they come forward to report his
     8 crimes.
     9         74.   Nygard’s and Defendant’s illegal conduct also constitutes a recurring
    10 pattern and practice of rape, sexual assault, and sex trafficking.
    11         75.   His rape, sexual assault, and sex trafficking have been occurring
    12 continuously, consistently, and systematically since, at least 1977 in violation of the
    13 TVPRA and various other state and foreign laws.
    14         76.   Under the continuing violation doctrine, the statute of limitations is
    15 tolled for all victims who have been subjected to his recurring, uniform pattern and
    16 practice of sex trafficking, which includes Plaintiffs. Additionally, Plaintiffs’ claims
    17 against Defendant are tolled because Defendant engaged in a continuing conspiracy
    18 to commit rape, sexually assault, sex trafficking, and subsequently cover up his
    19 crimes.
    20         77.   Unnamed third-party recruiters and facilitators, and upper-level
    21 executives with the Nygard Companies also conspired with Nygard to conceal his
    22 crimes for the benefit of Defendant.
    23         78.   Due to Defendant’s efforts in keeping their conspiracy secret, their
    24 conspiracy was only discovered upon the filing of Jane Does Nos. 1-57 v. Nygard,
    25 et al. Therefore, the statute of limitations for Plaintiffs’ conspiracy claims is tolled
    26 under the discovery rule.
    27 / / /
    28 / / /
                                                     13
                     Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                              COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 14 of 20 Page ID #:14



     1                                  CLAIMS ALLEGED
     2                                         COUNT I
     3     VIOLATION OF THE TRAFFICKING VICTIMS PROTECTION ACT,
                              18 U.S.C. §§1591(a)
     4
     5         79.   Plaintiffs reallege and incorporate by reference the allegations
     6 contained in paragraphs 1-78, as if fully set forth in this Count.
     7         80.   Defendant knowingly used the instrumentalities and channels of
     8 interstate and foreign commerce to facilitate violations of 18 U.S.C. § 1591(a)(1),
     9 occurring both in and outside of the territorial jurisdiction of the United States.
    10         81.   Defendant’s conduct was in or affecting interstate or foreign commerce
    11 for purposes of the TVPRA.
    12         82.   Defendant knowingly recruited, enticed, harbored, transported,
    13 provided, obtained, advertised, maintained, patronized, and/or solicited Plaintiffs for
    14 the purpose of causing them to engage in commercial sex acts through force, fraud,
    15 or coercion, pursuant to 18 U.S.C. § 1591(a).
    16         83.   Nygard, Defendant’s co-conspirator, received something of value from
    17 the sexual acts engaged in between Defendant and Plaintiffs.                  Furthermore,
    18 Defendant’s co-conspirators provided Plaintiffs with U.S. currency and/or items of
    19 value after Defendant engaged in commercial sex acts with Plaintiffs.
    20         84.   Defendant’s conduct has caused Plaintiffs serious and permanent harm,
    21 including, without limitation, physical, psychological, financial, and reputational
    22 harm, that is sufficiently serious, under all the surrounding circumstances, to compel
    23 a reasonable person of the same background and in the same circumstances to
    24 perform or to continue performing commercial sexual activity, in order to avoid
    25 incurring that harm.
    26 / / /
    27 / / /
    28 / / /
                                                     14
                     Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                              COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 15 of 20 Page ID #:15



     1                                         COUNT II
     2         PARTICIPATING IN A VENTURE IN VIOLATION OF
         THE TRAFFICKING VICTIMS PROTECTION ACT, 18 U.S.C. §§1591(a)
     3
     4         85.   Plaintiffs reallege and incorporate by reference the allegations
     5 contained in paragraphs 1-78, as if fully set forth in this Count.
     6         86.   Defendant participated in a venture with Nygard and the Nygard
     7 Companies, in violation of 18 U.S.C. § 1591(a)(2).
     8         87.   Defendant knowingly benefited from, and received value for, his
     9 participation in the venture, in which Defendant and Nygard would lure, entire,
    10 recruit, solicit, provide, obtain, and transport Plaintiffs, to engage in commercial sex
    11 acts with Defendant.
    12         88.   Defendant knew, or was in reckless disregard of the fact, that it was
    13 Nygard’s pattern and practice to use the channels and instrumentalities of interstate
    14 and foreign commerce, as well as the Nygard Companies’ resources to entice,
    15 recruit, solicit, or cause young and underage individuals to engage in commercial
    16 sex acts, and offering something of value in exchange for the sexual act.
    17         89.   Defendant had actual knowledge that he was facilitating and
    18 participating in Nygard’s use of company resources to recruit, entice, harbor,
    19 transport, provide, obtain, maintain, patronize, and/or solicit Plaintiffs and others,
    20 through force, fraud, or coercion, into commercial sex acts.
    21         90.   Despite such knowledge, Defendant facilitated and participated in
    22 Nygard’s violations of 18 U.S.C. § 1591, where Defendant knew, or was in reckless
    23 disregard of the facts that, Nygard would lure, entice, harbor, transport, provide,
    24 obtain, maintain, patronize, and/or solicit Plaintiffs, through force, fraud, or
    25 coercion, to engage in commercial sex acts.
    26         91.   Defendant and/or Defendant’s co-conspirators also provided or
    27 promised Plaintiffs items of value in exchange for engaging in the sexual acts with
    28 Defendant, including flights, lodging, and cash.
                                                     15
                     Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                              COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 16 of 20 Page ID #:16



     1         92.   In exchange for facilitating, participating in, and covering up Nygard’s
     2 scheme, Defendant received significant financial benefits and online exposure to
     3 promote and grow his own company.
     4         93.   Defendant’s conduct has caused Plaintiffs serious harm including,
     5 without limitation, physical, psychological, financial, and reputational harm, that is
     6 sufficiently serious, under all the surrounding circumstances, to compel a reasonable
     7 person of the same background and in the same circumstances to perform or to
     8 continue performing commercial sexual activity, in order to avoid incurring that
     9 harm.
    10                                        COUNT III
    11            CONSPIRACY TO COMMIT VIOLATION OF THE
    12        TRAFFICKING VICTIMS PROTECTION ACT, 18 U.S.C. §§1594
    13         94.   Plaintiffs reallege and incorporate by reference the allegations
    14 contained in paragraphs 1-78, as if fully set forth in this Count.
    15         95.   Defendant conspired, by agreement or understanding, to further
    16 Nygard’s unlawful plan and/or purpose to commit illegal commercial sex acts with
    17 Plaintiffs.
    18         96.   Defendant committed overt acts in furtherance of the agreement or
    19 understanding by playing an active role in trafficking Plaintiffs by engaging in
    20 commercial sex acts with them.
    21         97.   Defendant and/or his co-conspirators provided or promised Plaintiffs
    22 items of value in exchange for engaging in the sexual acts with Defendant, including
    23 but not limited to, air flights, lodging, food, and cash.
    24         98.   Defendant’s participation in the furtherance of Nygard’s illegal sex
    25 trafficking plan and/or purpose was intentional and/or willful and, therefore,
    26 Defendant intentionally and/or willfully caused Nygard’s facilitation of the sex acts
    27 with Plaintiffs in his affirmative acts supporting Nygard.
    28         99.   Defendant knew that his acts and conduct supporting and facilitating
                                                     16
                     Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                              COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 17 of 20 Page ID #:17



     1 Nygard would lead to unlawful commercial sex acts facilitated by Nygard and
     2 involving Plaintiffs.
     3         100. Defendant conspired with Nygard through his affirmative acts and
     4 provided substantial support to Nygard causing commercial sex acts upon Plaintiffs.
     5         101. Defendant’s conduct has caused Plaintiffs serious harm, including,
     6 without limitation, physical, psychological, financial, and reputational harm, that is
     7 sufficiently serious, under all the surrounding circumstances, to compel a reasonable
     8 person of the same background and in the same circumstances to perform or to
     9 continue performing commercial sexual activity in order to avoid incurring that
    10 harm.
    11                                        COUNT IV
    12    SEXUAL BATTERY IN VIOLATION OF CALIFORNIA CIVIL CODE §
                         1708.5 AND COMMON LAW
    13
    14         102. Plaintiffs reallege and incorporate by reference the allegations
    15 contained in paragraphs 1-78, as if fully set forth in this Count.
    16         103. Defendant intentionally committed sexual battery on both Plaintiffs in
    17 the State of California in violation of California law.
    18         104. Defendant acted with the intent to cause a harmful and offensive contact
    19 with an intimate part of Plaintiffs and a sexually offensive contact directly or
    20 indirectly resulted.
    21         105. Defendant acted with the intent to cause a harmful and offensive contact
    22 with Plaintiffs, by use of his intimate part and a sexually offensive contact directly
    23 or indirectly resulted.
    24         106. Defendant also acted to cause an imminent apprehension or fear of a
    25 harmful and offensive contact with Plaintiffs’ intimate parts.
    26         107. Plaintiffs did not consent to Defendant’s harmful and offensive contact
    27 and/or were coerced in to such harmful and offensive contact.
    28         108. Plaintiffs were harmed and/or offended by Defendant’s conduct.

                                                     17
                     Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                              COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 18 of 20 Page ID #:18



     1 Defendant’s conduct has caused Plaintiffs serious and permanent harm and/or
     2 damages, including, without limitation, physical, psychological, emotional,
     3 financial, and reputational harm.
     4                                         COUNT V
     5         CIVIL CONSPIRACY IN VIOLATION OF CALIFORNIA LAW
     6         109. Plaintiffs reallege and incorporate by reference the allegations
     7 contained in paragraphs 1-78, as if fully set forth in this Count.
     8         110. Defendant, Nygard, and the Nygard Companies have participated in the
     9 continuing conspiracy to commit sexual battery and to cover-up their conspiracy.
    10         111. Defendant formed a group of two or more persons and agreed to a
    11 common plan or design to commit tortious acts, including sexual battery.
    12         112. Defendant had actual knowledge that sexual battery was planned and
    13 concurred in the tortious scheme with knowledge of its unlawful purpose.
    14         113. Defendant intended to aid in the commission of the planned tort,
    15 including sexual battery.
    16         114. Defendant committed numerous wrongful acts, including sexual
    17 battery, against Plaintiffs occurring in the State of California pursuant to their
    18 agreement.
    19         115. Defendant conspired with Nygard and the Nygard Companies because
    20 he desired commercial sex acts from Plaintiffs and other victims of Nygard’s sex
    21 trafficking venture.
    22         116. This affirmative conduct of Defendant was committed by express
    23 and/or implied agreement that Nygard would use the Nygard Companies’ money
    24 and brand, the promise of a modeling career, and his influence in the fashion industry
    25 to facilitate and/or enable the sexual battery of Plaintiffs.
    26         117. Plaintiffs were damaged as a direct result of Defendants’ agreement and
    27 actions.
    28         118. Defendant’s conduct has caused Plaintiffs serious and permanent harm
                                                     18
                     Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                              COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 19 of 20 Page ID #:19



     1 and/or damage, including, without limitation, physical, psychological, emotional,
     2 financial, and reputational harm.
     3                              REQUEST FOR RELIEF
     4        Plaintiffs respectfully request that the Court enter judgment in their favor, and
     5 against Defendant, as follows:
     6        a.     That the Court grant permanent injunctive relief to prohibit Defendant
     7 from continuing to engage in the unlawful acts and practices described herein;
     8        b.     That the Court award Plaintiff compensatory, consequential, general,
     9 and normal damages in an amount to be determined at trial;
    10        c.     That the Court award punitive or exemplary damages in an amount to
    11 be determined at trial;
    12        d.     That the Court award to Plaintiff the costs and disbursements of the
    13 action, along with reasonable attorneys’ fees, costs, and expenses;
    14        e.     That the Court award pre- and post-judgment interest at the maximum
    15 legal rate; and
    16        f.     That the Court grant all such other relief as it deems just and proper.
    17                                    JURY DEMAND
    18        Plaintiff demands a trial by jury on all claims so triable.
    19
    20 Dated: November 24, 2020                 By:     /s/ Deborah S. Dixon
                                                        John H. Gomez
    21                                                  Deborah S. Dixon
    22                                                  GOMEZ TRIAL ATTORNEYS
                                                        655 West Broadway, Suite 1700
    23                                                  San Diego, California 92101
    24                                                  Telephone: (619) 237-3490
                                                        john@gomeztrialattorneys.com
    25                                                  ddixon@gomeztrialattorneys.com
    26
                                                        Greg G. Gutzler*
    27                                                  DICELLO LEVITT GUTZLER
    28                                                  LLC
                                                    19
                    Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                             COMPLAINT
Case 2:20-cv-10713-MWF-RAO Document 1 Filed 11/24/20 Page 20 of 20 Page ID #:20



     1                                                 444 Madison Avenue, Fourth Floor
                                                       New York, New York 10022
     2                                                 Tel.: 646-933-1000
     3                                                 ggutzler@dicellolevitt.com

     4                                                 Lisa D. Haba*
     5                                                 THE HABA LAW FIRM, P.A.
                                                       1220 Commerce Park Dr., Ste. 207
     6                                                 Longwood, Florida 32779
     7                                                 Tel.: 844-422-2529
                                                       lisahaba@habalaw.com
     8                                                 Counsel for Plaintiffs
     9
                                                       * Pro Hac Vice applications pending
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                   20
                   Jane Doe Nos. 1-3 v. Daniel S. Fitzgerald, Case No. 2:20-CV-10713
                                            COMPLAINT
